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12
      Lead counsel for Defendants
13    OJCOMMERCE, LLC and
14
      OJCOMMERCE.COM, INC.

15
16                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
17
18     P&P IMPORTS LLC, a California           Case No.8:19-cv-00898-AG-KES
       limited liability
19           Plaintiff,
20                                             JOINT RULE 26(f) REPORT
                 v.
21
22     OJCOMMERCE, LLC a Delaware              Date: September 16, 2019
       limited liability company;              Time: 9 AM
23                                             Judge: Andrew J. Guilford
       OJCOMMERCE.COM, INC. a
24     Delaware corporation; and DOES 1-       Courtroom: 10D
25     10, inclusive,
              Defendants.
26
27
28


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 1
      Additional Attorneys
 2
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 8    Designated local counsel for Defendants
 9    OJCOMMERCE, LLC and
      OJCOMMERCE.COM, INC.
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 1          Plaintiff P&P Imports LLC (“P&P” or “Plaintiff”) and Defendants OJ
 2    Commerce, LLC and OJ Commerce.com, INC. (Defendants collectively “OJ
 3    Commerce” or “Defendant”) by and through their undersigned counsel, hereby
 4    submit this Joint Report pursuant to Federal Rule of Civil Procedure 26(f) and
 5    Local Rule 26-1. The early meeting of counsel occurred on August 26, 2019.
 6          1.     Synopsis
 7                 A. Plaintiffs’ Factual Summary
 8          P&P Imports designs, manufactures, markets, and distributes a wide range
 9    of high-quality outdoor lawn game products under its GoSports® brand primarily
10    aimed at the niche outdoor lawn game marketplace. Upon information and belief,
11    a high percentage of consumers in that marketplace are aware of P&P and its
12    GoSports® lawn game products and their good reputation. P&P’s high-quality
13    products are carried and sold by large retailers, in-store and online, such as
14    Amazon.com, WalMart.com, Wayfair, Houzz and eBay, and are sold in and
15    across the United States, Canada, and the United Kingdom. The Defendants are a
16    national retailer that intentionally copied P&P’s copyrighted works, used P&P’s
17    registered GoSports® trademark, and delivered to customers an inferior product
18    using a bait-and-switch scheme with the intent to cause confusion of source,
19    sponsorship, or affiliation as to the parties’ respective products, and to profit from
20    P&P’s goodwill and reputation. Moreover, as alleged in P&P’s First Amended
21    Complaint, OJ Commerce targeted P&P’s GoSports Amazon marketplace (P&P’s
22    online store) and added themselves as a seller of genuine P&P products – when
23    they never had genuine P&P products to sell. Further, as evidenced in the First
24    Amended Complaint, Defendants maliciously undercut P&P’s price by $1.31-
25    $2.16, which not only damaged P&P’s sales listing, but their reputation and good
26    will by presenting to customers that P&P was not offering the best price for their
27    own products. Furthermore, if these customers want to leave a negative review of
28    this knock-off product, it is added to P&P’s sales listing, causing further damages

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 1    to P&P and requiring its Santa Ana, California based customer service team to
 2    pick up the pieces and try to preserve its sales listing that took P&P years to
 3    develop.
 4          P&P diligently protects their intellectual property in part by registering its
 5    trademarks, designing distinctive trade dress for its products, and copyrighting
 6    their original photographs and artwork to prevent competitors such as Defendants
 7    from unfairly competing with P&P, and freeriding on P&P’s reputation and hard
 8    work for its own financial gain.
 9          On or about August 15, 2016, P&P was issued US Copyright Registration
10    Number VA 2-013-842 entitled “P&P Imports 2016 Lookbook.” Pages 359-367
11    of P&P Imports 2016 Lookbook contains P&P’s pictures of its Washer Toss
12    Product. Additionally, P&P registered its GoSports® trademark, Reg. No.
13    4,802,471, and included in its identification of good its washer toss product.
14          At least as early as 2019, Defendants began to use, without authority,
15    permission, or license from Plaintiff, P&P’s intellectual property to promote,
16    make, and sell Defendants’ washer toss game across the United States including to
17    California. Defendant admits that it accessed Plaintiff’s copyrighted works, copied
18    those works, and published those works on Defendants’ own retail store website,
19    including displaying P&P’s prominent GoSports® registered trademark.
20    Defendants further represented to customers on Amazon.com that it was selling
21    GoSports® products, while admittedly not delivering to customers a genuine P&P
22    Washer Toss.
23          The Defendants delivered a product that is confusingly similar to the look
24    and feel of P&P’s Washer Toss Game which is likely to cause confusion to
25    consumers so that consumers are deceived into believing that they received a
26    genuine GoSports product. There can be little, if any, justification for such
27    business practices, except to benefit from, capitalize upon, and take advantage of
28    P&P’s outstanding reputation and goodwill by taking P&P intellectual property

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 1    and using it for their own financial gain.
 2          Defendants’ conduct constitutes willful infringement of P&P’s copyright,
 3    trademark, and trade dress due to their intentional copying to confuse consumers
 4    into purchasing their infringing products.
 5          Upon information and belief, intentional consumer confusion is
 6    Defendants’ normal business practice, and is in gross disregard of the intellectual
 7    property laws of the United States and the rights of intellectual property owners.
 8                 B. Defendants’ Factual Summary
 9          Defendant OJCOMMERCE.COM, INC. is a Delaware Corporation,
10    headquartered in Florida, that is the owner of the domain name ojcommerce.com.
11    There is absolutely no relationship between any of the alleged actions of
12    infringement that is even remotely related to OJCOMMERCE.COM, INC.’s
13    actions. OJCOMMERCE.COM, INC. has no relationship with California, has
14    never conducted any business in California, and was added to this Complaint
15    without any factual or legal basis.
16          Defendant OJ COMMERCE, LLC is a large online retailer that sells more
17    than 500,000 unique items online on its website ojcommerce.com and
18    marketplaces, such as Amazon.com. OJ COMMERCE, LLC has no physical
19    presence in California, does not specifically target any California residence, and
20    has not committed any act subjecting it to personal jurisdiction in California.
21
            As for the alleged infringements, OJ COMMERCE, LLC uses a variety of
22
      automated programs, and third party integration software, that it relies on for
23
      matching up online products to unique product codes. While these systems are
24
25
      extremely reliable, and commercially reasonable, sometimes a product mismatch

26    occurs, and erroneously matches up Defendant’s Stock Keeping Unit (SKU), with
27    an Amazon Standard Identification Number (ASIN). When such an error is
28    discovered, OJ COMMERCE, LLC takes immediate action to correct it.


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 1           From the preliminary investigation, OJ COMMERCE, LLC’s present belief
 2    is that is exactly what happened here, that its SKU was erroneously matched up
 3    with Plaintiff’s ASIN, giving rise to this action. It was an innocent unintentional
 4    mistake, and was immediately corrected upon notice.
 5
             The alleged infringement was a very brief time, and the sales of that product
 6
      that that period were minimal, and Plaintiff has not incurred any damages, as a
 7
      result is no real case in controversy, other than Plaintiff’s attempt to wrap up a
 8
      legal bill and try to collect attorney’s fees.
 9
10           2.     Legal Issues
11                  A. Plaintiff’s Description of the Legal Issues
12           The legal issues include copyright, trademark, and trade dress infringement
13    under federal law, and unfair competition under federal and California law, and
14    related state claims based on Defendants’ intentional and wrongful acts.
15           The key legal issues are: 1) liability for copyright, trademark, and trade
16    dress infringement; 2) willfulness of the infringements; and 3) damages.
17
18                 B. Defendants’ Description of the Legal Issues
19           The legal issues are trademark, copyright, trade dress, and California unfair
      competition. The key issues in dispute are whether any alleged violation was
20
      willful.
21
             3.     Damages
22
                    a. Plaintiff’s Summary
23
             P&P has suffered lost sales and profits due to Defendants’ infringement, in
24
      an amount to be determined at trial after discovery and testimony, estimated to be
25
      in an amount of not less than $150,000. Defendants’ sales and profits, as a
26
      measure of P&P’s damages and/or as equitable disgorgement, in an amount to be
27
      determined at trial and after discovery and testimony, but believed to be in amount
28
      of not less than $50,000. However, these amounts are just estimates as Defendants

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 1    have not yet produced sales documents. P&P also may elect to pursue statutory
 2    damages of $150,000 for Defendants’ willful copyright infringement.
 3          Defendants’ unauthorized use of the P&P’s intellectual property, and their
 4    unfair competition and false advertising, copyright infringement, trademark and
 5    trade dress infringement, and other wrongful acts, unjustly enriches Defendants at
 6    the expense of P&P’s reputation and goodwill, in an amount to be determined at
 7    trial and subject to discovery and testimony, but believed to be in amount of not
 8    less than $250,000. Plaintiff may seek an award of corrective advertising, which,
 9    as with the other damage and profits calculations, is subject to proof, including
10    expert testimony, but is estimated to exceed $50,000. Additionally, Plaintiff will
11    also be seeking treble damages, due to the willful infringement by the Defendants,
12    which would amount to up to three times P&P’s actual damages.
13          Plaintiff also seeks punitive damages, under California law, as a result of
14    Defendants’ wrongful acts, which are fraudulent, malicious, and oppressive with
15    complete and reckless disregard for the rights of P&P in violation of Cal. Civil
16    Code § 3294. These are expected to exceed $1,000,000.
17          Lastly, P&P seeks attorneys’ fees, and litigation costs, which through trial,
18    is estimated to exceed $250,000.
19                 b. Defendants’ Summary
20          Plaintiff has not suffered any monetary damages as a result of the alleged
21    infringements. Defendants sales were minimal. As a result, the only potential
22    damage recovery are statutory damages of $750.
23          None of the alleged actions were willful, and Plaintiff took immediate
      corrective measures upon notice, therefore, Plaintiff is not entitled to punitive
24
      damages, treble damages, or attorney’s fees.
25
                   A. Insurance
26
            Plaintiff request to review Defendants’ CGL insurance and other existing
27
      policies to make their own determination of any potential coverage.
28
            Defendants state that no insurance company is involved in this action.

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 1
 2                 B. Motions
 3          At this time, Plaintiff is investigating Defendants’ identification of other
 4    parties in its Motion to Dismiss (Dkt. No. 23). Neither party currently plans to file
 5    any motions to add any additional parties, but this could change after discovery if
 6    such relevant facts are discovered.
 7
 8                 C. Discovery and Experts
 9          At this time, Plaintiff, P&P, has not identified experts yet, but may have a
10    damages expert/accounting expert, corrective advertising expert, possibly an
11    industry expert, and possibly a survey expert. Defendants may have a
12    damages/accounting expert, and survey expert. Either party may have rebuttal
13    experts.
14
15                 D. Dispositive Motions
16    Both parties may have motions in limine, as well as motions for summary
17    judgement. The parties agree that the party opposing any motion for summary
18    judgment of partial summary judgment shall have at least 14 calendar days to file
19    opposition papers, and the moving party shall have at least 10 calendar days to
20    reply. It is up to the moving party to file its motion sufficiently in advance of the
21    motion hearing date to allow for the opposition and reply schedule set forth in this
22    paragraph.
23
24                 a. Settlement and Settlement Mechanism
25          The parties have discussed settlement. Plaintiff offered to settle this case
26    very early for a small and reasonable amount; however, the Defendants’ counter
27    offer was below Plaintiff’s costs and fees and would not serve to deter
28    Defendants’ unscrupulous business practices.

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 1           Defendants’ offered to settle this case by paying an amount that covers
 2    statutory damages for infringement, in access of all alleged profits, and in addition
 3    to pay for the filing fees of this action.
 4           The parties agreed to use the Central District Panel of Neutrals for their
 5    ADR settlement mechanism.
 6
 7                  b. Trial Estimate
 8           The parties agree that a preliminary estimate of the time required would be
 9    a 3-4 day jury trial.
10
11                  c. Timetable
12           The proposed timetable is attached as Exhibit A.
13
14                  d. Other Issues
15           The parties agree a mutual protective order should be entered and will try to
16    stipulate to a protective order and ESI protocol.
17
18                  e. Conflicts
19           There are no conflicts currently that the parties are aware of, and the
20    corporate affiliated entities were disclosed in the parties’ Notices of Interested
21    Parties.
22
23                  f. Patent Cases
24           This does not apply in this case as there are no patents involved.
25
26
27           4.     Magistrates
28           At this time, the parties do not wish to have a Magistrate Judge preside, but

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 1     possibly could agree later to this procedure.
 2
 3
 4                                            Respectfully submitted,
 5
       Dated: September 9, 2018
 6
                                              By: /s/ Casey H. Kempner
 7
                                              Casey H. Kempner
 8                                            Attorney for Plaintiff,
 9                                            P&P IMPORTS, LLC
10
11
                                              By: /s/ Shlomo Y Hecht
12
                                              Shlomo Y Hecht
13                                            Attorney for Defendants
14                                            OJCOMMERCE, LLC and
                                              OJCOMMERCE.COM, INC.
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 1
 2                                                   EXHIBIT A
 3                                            JUDGE: ANDREW J. GUILFORD
 4                               PRESUMPTIVE SCHEDULE OF PRETRIAL DATES

 5      Matter                                                                Time         Proposed Schedule of     Weeks
                                                                                           Pretrial Dates           before
 6                                                                                                                  Trial
        Trial date (jury) (court)                                             9:00 a.m.    December 1, 2020
 7      Estimated length: 4 days                                              (Tuesday)
        [Court trial:] File Findings of Fact and Conclusions of Law and                    November 24, 2020        -1
 8      Summaries of Direct Testimony
        Final Pretrial Conference; Hearing on Motions in Limine; File                      November 10, 2020        -3
 9      Agreed Upon Set of Jury Instructions and Verdict Forms and Joint
        Statement re Disputed Instructions and Verdict Forms; File
        Proposed Voir Dire Qs and Agreed-to Statement of Case
10      Lodge Pretrial Conf. Order; File Memo of Contentions of Fact and                   November 10, 2020        -3
        Law; Exhibit List; Witness List; Status Report re Settlement
11      Last day for hand-serving Motions in Limine                                        October 20, 2020         -6
        Last day for hearing motions                                          10:00 a.m.   October 12, 2020         -7
12                                                                            (Monday)
        Last day for hand-serving motions and filing (other than Motions in                September 15, 2020       -11
13      Limine)
        Expert Discovery Cut-Off                                                           September 1, 2020        -13
14      Opening Expert Witness Disclosure [See F.R.C.P. 26(a)(2)]                          August 4, 2020           -17
        Fact Discovery Cut-Off                                                             August 4, 2020           -17
15      Last day to conduct Settlement Conference                                          April 7, 2020            -34

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 1                             SIGNATURE CERTIFICATION
 2           Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories
 3     listed, and on whose behalf the filing is submitted, concur in the filing’s content
 4     and have authorized this filing.
 5
 6     Dated: September 9, 2019
 7                                             P&P IMPORTS LLC
 8
                                               By: /s/ Casey H. Kempner
 9
                                               Casey H. Kempner
10                                             Attorney for Plaintiff,
11                                             P&P IMPORTS, LLC
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                                               12                      Signature Certificaton
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 1
 2
                                  CERTIFICATE OF SERVICE
 3
 4         I hereby certify that I electronically filed the foregoing documents with the
       Clerk of the Court for the United States District Court for the Central District of
 5     California by using the CM/ECF system on September 9, 2019. Participants in the
 6     case who are registered CM/ECF users will be served by the CM/ECF System.
 7        I certify under penalty of perjury that the foregoing is true and correct.
 8     Executed September 9, 2019, at Santa Ana, California.

 9
10                                            By: /s/ Casey H. Kempner
11                                            Casey H. Kempner
                                              Attorney for Plaintiff,
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                                              P&P IMPORTS, LLC
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                                               13                     Certificate of Service
